           Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 1 of 14




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    MIRAKL, INCORPORATED,

                  Plaintiff,

    vs.                                               Civil Action No. 1:20-CV-11836-RWZ

    VTEX COMMERCE CLOUD SOLUTIONS,
    LLC, TYLER GREFF, ANDREW
    BROWNELL, JEREMY BLANFORD,
    GEORGE JYH-WEI CHANG, JOSEPH LEE,
    TIMOTHY SHAWN COCHRAN, and
    KEVIN GREGORY YEE,

                  Defendants.

    GEORGE CHANG,

                  Plaintiff-in-Counterclaim,

    v.

    MIRAKL, INC. and
    ADRIEN NUSSENBAUM,

                  Defendants-in-Counterclaim.


                PLAINTIFF MIRAKL, INCORPORATED’S OPPOSITION
           TO DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER [ECF 49]

          Less than one month after the Court’s April 14, 2021 denial of Defendants’ Motion to

Dismiss and order that the Parties complete discovery by October 15, 2021, Defendants 1 seek –

yet again – to circumvent their discovery obligations and to conceal evidence of their panoply of

wrongdoings. This time they do so with specific notice of the frivolity of their alleged reasons for


1
 Tyler Greff (“Greff”), Andrew Brownell (“Brownell”), Jeremy Blanford (“Blanford”), George
Jyh-Wei Chang (“Chang”), Joseph Lee (“Lee”), Timothy Shawn Cochran (“Cochran”), and Kevin
Gregory Yee (“Yee”) are referred to collectively herein as the “Individual Defendants.” Together
VTEX Cloud Solutions, LLC (“VTEX”) and the Individual Defendants are referred to as
“Defendants.”
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 2 of 14




attempting to stall the progress of discovery in this matter. Accordingly, Mirakl, Incorporated

(“Mirakl”) respectfully requests that the Court deny Defendants’ Motion for a Protective Order for

the following reasons:

       (1)     Defendants’ motion deliberately misrepresents Local Rule 26.1’s applicability, in
               direct violation of Rule 3.3(a)(1) of the Massachusetts Supreme Judicial Court’s
               Rules of Professional Conduct; and

       (2)     Defendants’ blatant attempt to evade discovery directly conflicts with the
               Scheduling Order and the Court’s denial of Defendants’ motion to dismiss.

                                          ARGUMENT

       Defendants’ motion is not just another attempt by Defendants to conceal evidence from

Mirakl and the Court, it also is an egregious and deliberate attempt to ignore the Court’s April 14

orders and to mislead the Court as to the state of the applicable law.

I.     Defendants Base Their Request for Relief On Local Rule 26.1 Despite Having
       Actual Knowledge That The Federal Rules Preempt the Local Rules.

       After counsel for Defendants inaccurately maintained during a May 5, 2021 Local Rule 7.1

conference that Mirakl could not serve Defendants with more than “25 interrogatories” or “2

separate sets of requests for production,” counsel for Plaintiff responded in writing and explained,

in detail, the fallacy on which Defendants then based (and now continue to base) their objections

to the April 27, 2021 interrogatories and requests for production that Mirakl properly served on

each Defendant. May 5, 2021 Letter from Danielle Y. Vanderzanden to Bronwyn Roberts,

Julianne Landsvik, and Amber Lee, attached as Exhibit 1 to the Declaration of Danielle Y.

Vanderzanden in Support of Plaintiff’s Opposition to Defendants’ Motion for Protective Order

(Vanderzanden Dec.), at 3-4. As that correspondence plainly informed Defendants, the First

Circuit has rejected, on preemption grounds, the precise Local Rules-based limitation argument on

which Defendants frivolously base their motion. See NEPSK, Inc. v. Town of Houlton, 283 F.3d

1, 7 (1st Cir. 2002) (“[A] district court cannot enforce its local rules in a way that conflicts with

                                                 2
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 3 of 14




the Federal Rules of Civil Procedure.”); Jaroma v. Massey, 873 F.2d 17, 20 (1st Cir. 1989) (“Local

district court rules cannot be construed in such a way as to render them inconsistent with applicable

provisions of the Federal Rules of Civil Procedure.”). Further, the United States District Court for

the District of Massachusetts itself has held, at least twice, that Local Rule 26.1(c) is unenforceable

to the extent that it conflicts with the Federal Rules of Civil Procedure. Magnesium Elektron N.

Am., Inc. v. Applied Chemistries, Inc., No. CV 18-40207-MGM, 2019 WL 7578395, at *3 (D.

Mass. July 26, 2019); St. Paul Fire & Marine Ins. Co. v. Birch, Stewart, Kolasch & Birch, LLP,

217 F.R.D. 288, 289 (D. Mass. 2003). In the face of this case law, which is precisely on point,

Defendants’ deliberately incorrect statements about Local Rule 26.1’s applicability violated Rule

3.3(a)(1) of the Massachusetts Supreme Judicial Court’s Rules of Professional Conduct, which

requires lawyers to refrain from making “a false statement of fact or law” and justify an award of

sanctions pursuant to Rule 37 of the Federal Rules of Civil Procedure.

       Notably, Defendants do not even attempt to contend (nor could they) that the written

discovery they wish to evade somehow conflicts with Rule 33(a)(1) of the Federal Rules of Civil

Procedure, which provides that “a party may serve on any other party no more than 25 written

interrogatories,” and Rule 34(a), which provides that “[a] party may serve on any other party a

request within the scope of Rule 26(b).” Pursuant to the law in this Circuit, Mirakl may serve up

to 25 interrogatories on each Defendant and Mirakl may serve requests for production on each

Defendant. Accordingly, the Court should promptly and unambiguously order that Defendants

provide Mirakl with timely discovery responses.




                                                  3
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 4 of 14




II.    Defendants Seek To Circumvent the Scheduling Order And Revisit Arguments The
       Court Already Rejected By Denying Defendants’ Motion to Dismiss.

       Defendants’ scattershot motion constitutes nothing more than a flagrant attempt to delay

discovery, conceal evidence, and render it impossible for the Parties to complete discovery by

October 15, as the Scheduling Order requires. In addition, Defendants’ alleged grounds for the

motion directly clash with the Court’s decision to deny Defendants’ motion to dismiss in its

entirety and misrepresent the case law on which Defendants rely.

       A.      Mirakl is entitled to discovery, and the Court has ordered that the Parties
               complete it by October 15.

       If one were to read no filing in this case other than Defendants’ motion, one likely would

reach the egregiously inaccurate conclusion that the First Amended Complaint (“FAC”) alleges

only claims under the Massachusetts Uniform Trade Secrets Act (“MUTSA”). However, even the

most cursory review of any other filing in this case plainly reveals that Mirakl has alleged, and the

Court has ordered the parties to conduct discovery with respect to, a myriad of claims that are

wholly independent from the two counts that allege trade secret claims (ECF 19, Count II and III).

More specifically, Mirakl has alleged:

       (1)     Breach of contract claims based on (a) each Individual Defendant’s failure to return
               Mirakl property, including but not limited to electronically stored information
               (“ESI”) and (b) several Individual Defendants’ breaches of their contractual
               obligation to refrain from soliciting Mirakl’s clients and/or employees (ECF 19 at
               Count I);

       (2)     Violations of the Computer Fraud and Abuse Act by each of the Individual
               Defendants (ECF 19 at Count IV);

       (3)     Breach of the duty of loyalty/fiduciary duty against each of the Individual
               Defendants (ECF 19 at Count V); and

       (4)     Tortious interference with contractual relations by VTEX (ECF 19 at Count VI).

       Simply stated, Mirakl has alleged several claims that do not arise out of Defendants’

violations of the MUTSA, and there is no basis for Defendants’ reliance on the MUTSA’s statutory

                                                 4
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 5 of 14




language. E.g., Monolithic Power Sys., Inc. v. Silergy Corp., No. 14-CV-01745-VC (KAW), 2015

WL 5897719, at *3 (N.D. Cal. Oct. 9, 2015) (“While [plaintiff’s] breach of contract claim relates

to the alleged use of confidential information, the contract provision breached does not mention

trade secrets … . Therefore, [d]efendants are required to answer without the benefit of [plaintiff]

identifying the confidential information it believes was utilized in the breach of the [agreement].”).

In fact, Defendants have not cited even a single case that supports their baseless contention that

trade secret “identification must come before discovery” regarding Mirakl’s breach of contract,

CFAA, fiduciary duty, and tortious interference claims. Memorandum of Law In Support of

Defendants’ Motion For A Protective Order, ECF 50, at 1. Moreover, the cases Defendants do

cite in support of the substantially more limited proposition that trade secrets must be identified

before a party “may obtain discovery related to trade secret misappropriation” are so substantively

and procedurally different from this case as to either (1) conflict with Defendants’ request for a

protective order and establish that Mirakl is entitled to receive prompt responses to the outstanding

discovery requests or (2) be of no relevance to this case. 2

       For example, the L-3 Comm. Corp. v. Reveal Imaging Technologies, Inc. decision cited on

page 3 of Defendants’ Memo arose in the context of a Rule 56(f) request for discovery relating to

factual issues raised at summary judgment and “an agreement the two-year restraint of which” had

expired approximately ten (10) years earlier. 18 Mass. L. Rptr.512, *12. In rejecting L-3’s request

for Rule 56(f) discovery, the court noted that “nothing in [the issues with respect to which L-3

sought discovery] would cause a different result” because L-3 had no right to enforce agreements

between the Reveal Defendants and prior employers. Id. at *11-12. Unlike L-3’s contract claims,



2
 Notably, even the MUTSA language on which Defendants rely does not even support their
position. That language merely addresses the circumstances under which discovery “relating to
an alleged trade secret” may commence. Ch. 93, § 42D(b).
                                                  5
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 6 of 14




Mirakl’s contract claims arise out of written agreements between Mirakl and the Individual

Defendants, and Mirakl brought its claims during the restricted period defined in those agreements.

See generally FAC, ECF 19; see also agreements between Mirakl and each Individual Defendant,

ECF 1-1 – ECF 1-7.

       Only after disposing of L-3’s contract claims, and only “[b]ecause of the foregoing

resolution of the contract claims,” did the L-3 court even consider whether to require L-3 to serve

“a statement specifically identifying those trade secretes that form the basis of their trade secret

misappropriation claims before discovery may be had on those claims.” Id. at *13 (emphasis

added). And, when the L-3 court did consider that question, it merely held that when “a plaintiff

in a trade secret case seeks to discover the trade secrets and confidential proprietary information

of its adversary, the plaintiff will normally be required to first identify with reasonable

particularity the matter which it claims constitute a trade secret before it will be allowed (given a

proper showing of need) to compel discovery of its adversary’s trade secrets.” Id. at *13, citing

Engelhard Corp. v. Savin Corp., 505 A.2d 30, 33 (Del.Ch.1986) (emphasis added).

       Alnylam Pharms., Inc. v. Dicerna Pharms., Inc., 2016 WL 4063565, at *2 (Mass.

Super.Apr. 6, 2016), provides no additional support for the proposition that any plaintiff who files

a complaint that contains a claim under the MUTSA cannot obtain any discovery (not even

discovery relating to that plaintiff’s own confidential information) on any of its claims until the

plaintiff identifies the stolen trade secrets with more reasonable particularity than L-3. Neither the

holding in Alnylam, nor any dicta in the opinion even remotely suggests that a plaintiff seeking

discovery regarding its own confidential information (and the return of that information) must do

anything at all before obtaining discovery. Instead, the Alnylam decision addressed the limited




                                                  6
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 7 of 14




circumstance in which the plaintiff seeks “discovery of a defendant’s confidential information

regarding the development of the defendant’s own technology . . .” Id. at *1-2.

       Unlike L-3 and Alnylam, this is not a case in which Mirakl seeks discovery relating to

VTEX’s trade secrets. Mirakl merely has requested discovery regarding the extent to which

Mirakl’s confidential information resides on any Device currently or previously accessed or used

by any Defendant. Thus, Mirakl seeks discovery relating to Defendants’ theft, retention, use, and

disclosure of Mirakl’s own confidential information and Mirakl’s own trade secrets. In addition,

Mirakl’s discovery requests are more expansive than its trade secret claims. Mirakl seeks

discovery relating to all of its claims. The scope of discovery Mirakl seeks and the factual

disparities between this case and the L-3 and Alnylam cases render those decisions wholly

inapplicable to this dispute.

       Importantly, Mirakl’s trade secret claims are a subset of its claims that (1) the Individual

Defendants breached their agreements with Mirakl by failing to return Mirakl’s property to Mirakl

and (2) the Defendants misappropriated Mirakl’s confidential and proprietary information.

Because those are claims with respect to which Mirakl is unequivocally entitled to timely

discovery responses, without regard to whether Mirakl has identified the trade secrets at issue, the

Court should compel all Defendants to provide timely responses to the discovery that Mirakl

served on April 27. E.g., Neural Magic, Inc. v. Facebook, Inc., 1:20-cv-10444 (D. Mass. Oct. 29,

2020) (noting that the MUTSA does “not affect other civil remedies to the extent that they are not

based upon misappropriation of trade secret”) citing 93A, § 42F(b)(3). The Neural Magic decision

is particularly relevant in that it explicitly notes that the MUTSA does not apply to confidential

information that may not be entitled to trade secret protection.

       Given that the MUTSA is silent about uniformity with respect to confidential
       information that may not constitute a trade secret, the text of Section 42F which

                                                 7
          Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 8 of 14




         limits preemption to civil remedies for the misappropriation of trade secrets, the
         split in authority on the scope of preemption of similar UTSA provisions and the
         lack of authority in Massachusetts, the Court does not conclude that MUTSA
         preemption applies to the state law claims that Defendants now challenge where
         these claims rely upon the alleged the theft of alleged confidential and information.

Id., citing Cenveo Corp. v. Slater, No. 06-CV-2632, 2007 WL 527720, at *3 (E.D. Penn. Feb. 12,

2007).

         B.     Even if Mirakl Had an Obligation to Identify the Trade Secrets, the Court
                Already Rejected Defendants’ Contention that Mirakl Failed to do so.

         Defendants’ refusal to provide Mirakl with discovery directly clashes with the Court’s

decision to deny Defendants’ motion to dismiss in its entirety. In their motion to dismiss,

Defendants explicitly asked the Court to conclude that Mirakl had failed to identify its trade secrets

with reasonable particularity and/or failed to sufficiently describe “the nature of the trade secrets.”

E.g., ECF 21 at 12-13. In denying the motion to dismiss, the Court rejected those arguments.

Absolutely nothing relevant to the Court’s denial of the motion to dismiss has changed, and

Defendants have no good faith basis for hindering discovery and disregarding the Court’s order to

commence and complete discovery forthwith.

         Defendants’ arguments fail not only procedurally, but also substantively because Mirakl

has sufficiently identified the trade secrets at issue to commence discovery on Mirakl’s MUTSA

claims.3 In relevant part, the MUTSA provides that “[b]efore commencing discovery relating to

an alleged trade secret, the party alleging misappropriation shall identify the trade secret with

sufficient particularity under the circumstances of the case to allow the court to determine the

appropriate parameters of discovery and to enable reasonably other parties to prepare their



3
 While Mirakl maintains that it has already identified the trade secrets at issue with the necessary
“reasonable particularity” for the purposes of discovery, Mirakl will further identify the trade
secrets at issue by file name after the entry of a protective order governing the exchange of
confidential information.
                                                  8
         Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 9 of 14




defense.” Mass. Gen. Laws Ann. ch. 93, §§ 42D(b). This is not meant to be an onerous

requirement. As stated by another court,

        “Reasonable particularity” … does not mean that the party alleging
        misappropriation has to define every minute detail of its claimed trade secret at the
        outset of the litigation. Nor does it require a discovery referee or trial court to
        conduct a miniature trial on the merits of a misappropriation claim before discovery
        may commence. Rather, it means that the plaintiff must make some showing that is
        reasonable, i.e., fair, proper, just and rational … , under all of the circumstances to
        identify its alleged trade secret in a manner that will allow the trial court to control
        the scope of subsequent discovery, protect all parties’ proprietary information, and
        allow them a fair opportunity to prepare and present their best case or defense at a
        trial on the merits.

        The degree of “particularity” that is “reasonable” will differ, depending on the
        alleged trade secrets at issue in each case.

Advanced Modular Sputtering, Inc. v. Superior Ct., 132 Cal. App. 4th 826, 835–36, 33 Cal. Rptr.

3d 901, 908 (2005) (quotations omitted) (emphasis added). Moreover, “the designation [of trade

secrets] should be liberally construed, and reasonable doubts about its sufficiency resolved in favor

of allowing discovery to go forward. Cisco Sys., Inc. v. Chung, No. 19-CV-07562-PJH, 2020 WL

7495085, at *9 (N.D. Cal. Dec. 21, 2020) (quotations omitted) (emphasis added). Finally, courts

do not typically require identification of trade secrets with an exacting degree of specificity for

most of the categories of trade secrets at issue in this case—namely, confidential customer, sales,

and marketing information. E.g., Albert’s Organics, Inc. v. Holzman, No. 19-CV-07477-PJH,

2020 WL 4368205, at *3 (N.D. Cal. July 30, 2020) (“The court agrees with plaintiff that customer

and supplier information does not generally involve scientific or technical secrets that would need

to be filed under seal.”).

        In the FAC, to the extent known at this time, Mirakl reasonably and fairly identified in

substantial detail the trade secrets at issue in this case that each Individual Defendant




                                                   9
        Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 10 of 14




misappropriated from Mirakl. See, e.g., ECF No. 19, at ¶¶ 88, 97, 108, 120, 135, 146.4 Specifically,

Mirakl identified the misappropriated trade secrets as follows:

       1.      With respect to the trade secrets misappropriated by Greff, Mirakl identified
               the following:

               a.      Mirakl’s trade secret Application Programming Interface (“API”)
                       zip file, which included, among other things, all of the information
                       one of Mirakl’s competitors would need to rebuild the Mirakl
                       platform;

               b.      Tangible financial and business information such as customer
                       documentation (including, but not limited to, customer briefs,
                       customer goals, plans, and challenges, customer complaints and
                       Mirakl’s responses to same, customer data, including details
                       regarding growth initiatives, sales numbers, and projected growth);

               c.      Notes from meetings between Mirakl representatives and Mirakl’s
                       customers executive leadership;

               d.      Commercial data relating to operational workshops; and

               e.      Commercial, contractual, and gross merchandise value information
                       relating to Mirakl’s projected growth through 2020.

       2.      With respect to the trade secrets misappropriated by Brownell, Mirakl
               identified the following:

               a.      A Mirakl prospective customer pipeline report that includes
                       confidential notes relating to account opportunities Mirakl actively
                       is pursuing with a partner; and

               b.      A list of prospective customers with which Mirakl is actively
                       engaged that includes (i) the technology partner with which each of
                       those prospective customers currently works, (ii) notes on Mirakl’s
                       discussions to date with each of the identified potential customers,
                       and (iii) information regarding whether the opportunities are in
                       Mirakl’s sales pipeline for June 2020.


4
  Though Mirakl maintains that it has identified the trade secrets that it currently knows that
Defendants have misappropriated, Mirakl reserves the opportunity to identify additional trade
secrets misappropriated by Defendants, if revealed through the course of discovery. See DeRubeis
v. Witten Techs., Inc., 244 F.R.D. 676, 680 (N.D. Ga. 2007) (“[I]f the trade secret plaintiff is forced
to identify the trade secrets at issue without knowing which of those secrets have been
misappropriated, it is placed in somewhat of a ‘Catch–22’ … .”).
                                                  10
Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 11 of 14




3.   With respect to the trade secrets misappropriated by Cochran, Mirakl
     identified the following:

     a.     Notes from a call with a customer prospect that (i) include details on
            the prospective customer’s interest in a marketplace solution and (ii)
            identify the prospective customer’s key decision makers;

     b.     Names, titles, emails, and phone numbers of prospective customers
            who attended an event Mirakl attended (NRF 2020);

     c.     A sales overview for the central region including Mirakl’s key
            prospective customers and partners, including notes of
            conversations Mirakl has had with these prospective customers and
            partners and details relating to the types of eCommerce technology
            those prospects currently use; and

     d.     A summary of Mirakl’s prospective customers that includes key
            contacts, industry insights, key business initiatives for 2020, and
            activity notes detailing the conversations Mirakl employees have
            had with Mirakl’s customer prospects.

4.   With respect to the trade secrets misappropriated by Chang, Mirakl
     identified the following:

     a.     A file that contains customer-specific pricing information for a
            current Mirakl client;

     b.     A file relating to 30 separate prospect meetings that occurred during
            a Mirakl event that includes details regarding the extent to which
            each prospect is interested in a marketplace; and

     c.     A confidential sales presentation provided to a Mirakl client.

5.   With respect to the trade secrets misappropriated by Yee, Mirakl identified
     the following:

     a.     Resume of a now former Mirakl employee (Taner Bayram);

     b.     A detailed map of different ecommerce systems a current Mirakl
            customer uses and how Mirakl’s platform is integrated with those
            systems, which architecture diagrams could be used by a competitor
            to understand how Mirakl works with a specific customer and where
            a Mirakl competitor (such as VTEX) may be able to exploit an
            advantage in connecting their system into the Mirakl customer’s
            technology ecosystem;

                                     11
        Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 12 of 14




               c.      Notes of a meeting with an existing Mirakl customer that detail that
                       client’s future plans to use different features of the Mirakl platform;

               d.      A detailed map of different ecommerce systems another Mirakl
                       customer uses and how Mirakl’s platform plugs in, which
                       architecture diagrams could be used by a competitor to understand
                       how Mirakl works with that specific customer and where a
                       competitor (such as VTEX) may have an advantage in connecting
                       their system into the Mirakl customer’s technology ecosystem;

               e.      Key pieces of information relating to a current customer, which
                       includes but is not limited to that customer’s timeline of how they
                       implemented Mirakl starting from 2018 through to the end of 2020,
                       the Mirakl features and functionality that customer uses,
                       architecture diagrams that show how Mirakl’s system connects in
                       with that customer’s ecommerce platform, and any strategic
                       discussions Mirakl has had with the customer; and

               f.      The 449-page slide deck of Mirakl’s software engineering team that
                       which includes key business decisions relating to features Mirakl is
                       likely to develop and features Mirakl may need to strengthen.

       6.      Finally, with respect to the trade secrets misappropriated by Lee, Mirakl
               identified the following:

               a.      A Mirakl list of prospects and key contacts inside each prospect
                       organization, including emails;

               b.      Slides from an internal leadership meeting that Mirakl held in 2020,
                       with confidential information about Mirakl’s hiring goals and
                       operating costs;

               c.      Pricing information relating to how Mirakl priced its solution with
                       14 international customers; and

               d.      Mirakl’s 2019 template for pitch decks the Company uses when
                       preparing presentations for prospective customers.

ECF No. 19, at ¶¶ 88, 97, 108, 120, 135, 146.

       Thus, with respect to its MUTSA claims, Mirakl has very clearly complied with its

obligation to identify the trade secrets at issue with “reasonable particularity” sufficient to enable

Defendants to engage in discovery. Defendants’ assertion that Mirakl has not identified its trade

                                                 12
        Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 13 of 14




secrets is simply another delay tactic to stonewall any discovery. Respectfully, the Court should

not permit Defendants to engage in this behavior, and the Court should deny Defendants’ Motion

for Protective Oder and instruct Defendants to respond to Mirakl’s discovery requests in the

timeframe outlined by the Federal Rules of Civil Procedure.

       In the Parties’ Local Rule 7.1 conference, Defendants attempted to contend that conducting

discovery regarding Mirakl’s contract and common law misappropriation claims before Mirakl

provides Defendants with additional details relating to the identity of the trade secrets that

Defendants stole somehow would increase the burden of discovery in this case. This ludicrous

contention ignores the applicable case law and the relevant facts. First, as noted in Neural Magic,

trade secret claims are materially different from common law confidential information claims.

Second, trade secrets are a mere subset of an entity’s universe of confidential information as

evidenced by the obvious fact that “as the name suggests, a trade secret must be a secret.” Iconics,

Inc. v Massaro, et al., 266 F. Supp. 3d 449, 452 (D. Mass. 2017) (emphasis added).

       Moreover, Defendants’ argument in this regard directly conflicts with (1) the applicable

statutes, which include secrecy (or confidentiality) as a necessary element of any trade secret claim,

and (2) the case law, which plainly provides that “Confidential and proprietary information may

also be entitled to protection even if the information cannot be technically claimed as a ‘trade

secret.’” DUSA Pharms., Inc. v. Biofrontera Inc., No. CV 18-10568-RGS, 2020 WL 5995979, at

*1 (D. Mass. Oct. 9, 2020). In other words, a trade secret is confidential even if not all confidential

information will be deemed a trade secret. Accordingly, discovery relating to Mirakl’s trade secret

claims will, by definition, consist of a mere subset of the discovery responsive to Mirakl’s contract

and common law claims, and those are claims with respect to which Mirakl is both unequivocally

and presently entitled to discovery, and there are no circumstances under which requiring



                                                  13
        Case 1:20-cv-11836-RWZ Document 51 Filed 05/14/21 Page 14 of 14




Defendants to respond to Mirakl’s discovery now will increase the burden of discovery in this

case. Quite to the contrary, Defendants’ dilatory tactics are the sole factor increasing the burden

of discovery on the parties and this Court.

                                         CONCLUSION

       WHEREFORE, Mirakl respectfully requests that the Court deny Defendants’ Motion for

Protective Order and, pursuant to Rule 37, award Mirakl its fees associated with opposing this

motion on the grounds that Defendants have failed (and continue to fail) to participate in the

discovery process in good faith.

                                                Respectfully submitted,

                                                MIRAKL, INCORPORATED

                                                By its attorney,

                                                /s/ Danielle Y. Vanderzanden
                                                Danielle Y. Vanderzanden (BBO #563933)
                                                OGLETREE, DEAKINS, NASH, SMOAK &
                                                STEWART, P.C.
                                                One Boston Place, Suite 3500
                                                Boston, MA 02108-4403
                                                Telephone: 617-994-5700
                                                Facsimile: 617-994-5701
                                                danielle.vanderzanden@ogletree.com

Dated: May 14, 2021
                                   CERTIFICATE OF SERVICE

       I, Danielle Y. Vanderzanden, hereby certify that this document, filed through the ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (“NEF”) this 14th day of May, 2021.


                                              /s/Danielle Y. Vanderzanden
                                              Danielle Y. Vanderzanden

                                                                                          47077424.1



                                                14
